






















IN THE COURT OF CRIMINAL APPEALS
OF TEXAS



NO. AP-76,232




EX PARTE KEVIN LASHAWN MOORE, Applicant




ON APPLICATION FOR A WRIT OF HABEAS CORPUS
CAUSE NO. 0966038-A IN THE 396th DISTRICT COURT
FROM TARRANT COUNTY




&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per curiam.

O P I N I O N

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of murder and
sentenced to forty-five years’ imprisonment.  The Tenth Court of Appeals affirmed his conviction.
Moore v. State, No. 10-06-00319-CR (Tex. App.–Waco, delivered December 5, 2007, no pet).  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Applicant contends that he has been deprived of his meaningful right to file a pro se petition
for discretionary review.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The trial court held an evidentiary  hearing where it heard testimony from both Applicant and
appellate counsel.  Based on the testimony given at the hearing, the trial court has entered findings
of fact and conclusions of law that Applicant was deprived of his right to pursue a pro se petition
for discretionary review because of a breakdown in the mail system at the Texas Department of
Criminal Justice.  The trial court recommends that relief be granted. Ex parte Riley, 193 S.W.3d 900
(Tex. Crim. App. 2006). We find, therefore, that Applicant is entitled to the opportunity to file an
out-of-time petition for discretionary review of the judgment of the Tenth Court of Appeals in Cause
No. 10-06-00319-CR that affirmed his conviction in Case No. 0966038-A from the 396th Judicial
District Court of Tarrant County.  Applicant shall file his petition for discretionary review with the
Tenth Court of Appeals within 30 days of the date on which this Court’s mandate issues.
&nbsp;
Delivered: September 30, 2009
Do not publish


